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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

   THE STATE OF ARIZONA, By and through
   its Attorney General, MARK BRNOVICH; et
   al.,

                                    PLAINTIFFS,

          v.

   MERRICK GARLAND in his official capacity       CIVIL ACTION NO. 6:22-cv-01130-DCJ-CBW
   as Attorney General of the United States of
   America; et al.,

                                  DEFENDANTS.




       PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO TRANSFER
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                                              INTRODUCTION

          Defendants’ Motion to Transfer (Doc. 5) is both barred by controlling precedent and would

  further fail even on a blank precedential slate. As an initial matter, the Fifth Circuit precedent has

  squarely held that “the entirety of the text and structure of § 1252 indicates that it operates only on denials

  of relief for individual aliens.” Texas v. Biden, 20 F.4th 928, 977 (5th Cir. 2021) (emphasis added) cert. granted

  142 S. Ct. 1098 (2022). Because this is a programmatic challenge by States, and not one a claim for

  “relief by individual aliens,” Defendants’ transfer motion is foreclosed by Fifth Circuit precedent—

  which Defendants brazenly ignore. They could not, however, have been unaware of it since that case

  was repeatedly cited to them in the Title 42 case in the last few weeks, including specifically on the

  § 1252 issue. See TRO Reply, Arizona v. CDC, No. 6:22-cv-00885-RRS-CBW at 4-5 (Doc. 30-1). This

  Court implicitly rejected that argument in granting the TRO, and should now do so again expressly.

          But even if Defendants’ arguments were not directly contrary to binding precedent here and

  instead questions of first impression, those arguments contravene the plain text of the statute, prece-

  dent from other circuits, a pertinent canon of construction, and legislative history. And because De-

  fendants seek transfer solely based upon 8 U.S.C. § 1252 (and not more-general transfer authority

  such as 28 U.S.C. § 1404), Defendants’ motion should be denied as both barred by precedent and

  lacking in merit.

  I.      Binding Fifth Circuit Precedent Has Already Rejected Defendants’ Argument

          Defendants’ Motion fails first because controlling Fifth Circuit precedent holds unequivocally

  that all of 8 U.S.C. § 1252 is only applicable to individual removal challenges filed by aliens. Since the

  State Plaintiffs are sovereign entities bringing a programmatic challenge, and not aliens challenging

  individual removal decisions, Section 1252 has no applicability here.

          Last December, the Fifth Circuit issued its decision in Texas v. Biden, holding that when it

  purported to terminate the Migrant Protection Protocols (“MPP”), “DHS ha[d] violated not only the


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  APA but also Congress’s statutory commands in [8 U.S.C.] § 1225” of the Immigration and Nationality

  Act.” 20 F.4th at 998. Not only was the DHS’s conduct unlawful, but the Fifth Circuit also held that

  the federal government had “repeatedly exhibited gamesmanship” throughout the process in an at-

  tempt to “moot” the States’ challenge. Id. at 962-963. Defendants’ Motion to Transfer is simply more

  of that gamesmanship.

          In Texas, the Fifth Circuit rejected the same “halfhearted[]” argument the federal government

  makes here, that Section 1252 strips jurisdiction in cases like this one. The Fifth Circuit’s holding in

  Texas was clear, categorical, and controlling: “the entirety of the text and structure of § 1252 indicates

  that it operates only on denials of relief for individual aliens. The Government’s reading of it

  would bury an awfully large elephant in a really small mousehole.” Id. at 977 (emphasis added); see also

  Texas v. United States, 809 F.3d 134, 164–65 (5th Cir. 2015) (rejecting federal government’s argument

  that Section 1252 strips jurisdiction, in State challenge to DHS DAPA program); see also Texas v. United

  States, 524 F. Supp. 3d 598, 641–42 (S.D. Tex. 2021) (holding that the jurisdiction limiting provisions

  of the INA do not apply to State’s challenge to programmatic policies of DHS, because those “provi-

  sions concern limits to potential suits brought by aliens themselves” and not to actions such as “chal-

  lenging DHS's decision to blanket pause the removal of thousands of aliens under the APA”). And

  although Texas v. Biden considered different subsections of § 1252, its holding was categorical and thus

  necessarily applies to all subsections of that provision. 20 F.4th at 976-77 (rejecting arguments based

  upon § 1252(a) and (b) on the basis of reasoning applicable to “the entirety of the text and structure

  of § 1252”).

          In its Motion to Transfer, the federal government remarkably did not cite Texas v. Biden at all,

  even though that decision is controlling precedent and is entirely dispositive—and recently cited to it

  in this very Court by many of the same States. Supra at 1. Moreover, in its petition for certiorari in

  Texas v. Biden, DHS did not even attempt to challenge the Fifth Circuit’s interpretation of Section



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  1252. See Pet. Writ Cert., Biden v. Texas, No. 21-954, 2021 WL 6206109 at *I (Dec. 29, 2021) (listing

  questions presented as “Whether 8 U.S.C. 1225 requires DHS to continue implementing MPP” and

  “Whether the court of appeals erred by concluding that the Secretary's new decision terminating MPP

  had no legal effect”).

          If the federal government believes that the Fifth Circuit’s interpretation of Section 1252 in

  Texas v. Biden was wrongly decided, it is free to seek Supreme Court or en banc review. It has not, and

  it remains binding precedent in this Circuit. Defendants’ Motion should therefore be denied on that

  basis alone.

          A.      This Court Has Already Implicitly Rejected Defendants’ Argument

          On April 3, nearly all of the same State Plaintiffs in this case filed a separate action in this

  Court challenging the federal government’s termination of its Title 42 policy prohibiting the entry into

  the United States of certain categories of aliens because of the ongoing COVID-19 pandemic. See

  Arizona v. CDC, No. 22-cv-00885. On April 21, Plaintiff States there filed a motion for temporary

  restraining order because the federal government had begun to unlawfully implement the Title 42

  termination more than a month before the announced implementation date. Id. ECF No. 24. The

  federal government opposed the States’ TRO motion, arguing in part that this Court lacked jurisdic-

  tion because of Section 1252—including specifically § 1252(e)(3). Arizona v. CDC, ECF No. 27 at 6-8

  (W.D. La. Apr. 3, 2022). This Court granted the TRO, thus implicitly rejecting Defendants’ Section

  1252 argument and concluding that it had jurisdiction. Id. ECF No. 37 at 2 (W.D. La. Apr. 27, 2022)

  (holding that “the Plaintiff States have satisfied each of the[] requirements” for a TRO, including that

  there is “a substantial likelihood of success on the merits” (citations and quotation marks omitted)).

  Indeed, Defendants subsequently abandoned their §1252 argument completely in their preliminary

  injunction opposition. Arizona v. CDC, ECF No. 40 at 43 n.13 (W.D. La. Apr. 29, 2022) (mentioning

  in passing other subparagraphs of Section 1252, but declining to invoke Section 1252(e)(3)).



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  II.     Defendants’ Argument Fails On the Merits

          Even if on a blank precedential slate, Defendants’ Motion still fails, as all available interpretive

  tools, including the plain language, persuasive authority from other courts, canons of construction,

  and legislative history all show that Section 1252(e)(3) does not apply here.

          A.       Plain Language

                   1.      Section 1252 Applies Only to Challenges By Aliens to Orders of Re-
                           moval

          Section 1252 is a limitation on aliens’ individual attempts to challenge removal from the United

  States. The section specifically refers to removal, removal orders, or removal proceedings twenty-five

  times, and the entire structure of §1252 makes clear that it only applies to proceedings in which aliens

  are attempting to challenge their removal. E.g. 8 U.S.C. § 1252(a)(1) (limiting “[j]udicial review of a

  final order of removal’); id. (b) (establishing requirements for “review of an order of removal”).

          This interpretation is confirmed by Section 1252’s section heading and subheadings. The sec-

  tion heading is “[j]udicial review of orders of removal.” 8 U.S.C. § 1252 (emphasis added). And tellingly,

  the subheading to 1252(e) explains that this subsection is about “[j]udicial review of orders under

  section 1225(b)(1).” To interpret Section 1252 as applying beyond challenges by aliens to individual

  removal decisions would require this Court to ignore the Fifth Circuit’s rule that “meaning should be

  given to the section headings of a statute.” House v. Comm’r, 453 F.2d 982, 988 (5th Cir. 1972); see also

  Porter v. Nussle, 534 U.S. 516, 527-28 (2002) (“[T]he title of a statute and the heading of a section are

  tools available for the resolution of doubt about the meaning of a statute.”); United States v. Lauderdale

  Cnty., Mississippi, 914 F.3d 960, 965 (5th Cir. 2019) (rejecting federal government’s construction of a

  statute and explaining that “section headings … can be used as evidence when interpreting the oper-

  ative text of the statute”).




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                  2.      Even if the Application of Section 1252 Extends Beyond Challenges To
                          Orders of Removal, It Does Not Apply To This Case

          Even if Section 1252 could be read as applying beyond challenges to orders of removal, it does

  not apply to this case, because this action is not a challenge to implementation of Section 1225(b)

  (creating an expedited removal process for arriving aliens). The plain language of Section 1252(e)(3)

  states that its jurisdictional limitation only applies in two strictly circumscribed cases: 1) “[j]udicial

  review of determinations under section 1225(b) of this title” and 2) [Section 1225(b)’s] implementa-

  tion.” Plaintiffs are not contesting any specific removal determination. The first condition thus does

  not apply. And the second condition does not apply because the gravamen of Plaintiffs’ complaint is

  that the Asylum IFR does not implement Section 1225(b), but rather contravenes it. Similarly, Section

  1252(a)(2)(A)(iv) refers to challenges to “procedures and policies adopted by the Attorney General to

  implement the provisions of section 1225(b)(1).”

          The Asylum IFR cannot fairly be characterized as an “implementation” of Section 1225(b)

  because asylum adjudications are governed by other sections of the INA, specifically 8 U.S.C. § 1158,

  which is titled “Asylum,” and 8 U.S.C. § 1229a, which establishes the removal proceedings required

  for aliens claiming asylum.

          Defendants know that the statutes governing asylum do not grant them the discretion to adopt

  the Asylum IFR. The only textual basis they offer for the authority to adopt the nearly 150-page,

  170,000-word Asylum IFR is the five-word phrase “further consideration of the application” in Sec-

  tion 1225(b). That phrase, in their view, is a grant of administrative super-powers that allows Defend-

  ants to adopt rules making radical changes to the asylum process established by Congressional statute.

  Defendants’ argument is not premised on an elephant hidden in a mousehole, it’s premised on a whole

  herd of them hidden inside. See Whitman v. American Trucking Ass’ns, 531 U.S. 457, 468 (2001) (Congress

  does not upend or even “alter the fundamental details of a regulatory scheme in vague terms or ancil-

  lary provisions—it does not, one might say, hide elephants in mouseholes”).


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          Defendants claim all of this even though Congress already plainly explained that the phrase

  “further consideration of the application for asylum” in Section 1225(b) means “further consideration

  of the application for asylum under normal non-expedited removal proceedings.” H. Rep. No. 104–828 at 209

  (1996) (emphasis added). But non-expedited removal proceedings are governed by 8 U.S.C. §1229a,

  not Section 1225(b).

          Further supporting this statutory interpretation is that the Homeland Security Act (HSA), Pub.

  L. No. 107-296 (2002), requires that asylum claims be adjudicated by the DOJ’s Executive Office of

  Immigration Review (“EOIR”), which does not have the authority to conduct proceedings under

  Section 1225(b). See HSA ¶451(b) (enumerating specific functions that were transferred from INS to

  USCIS, empowering USCIS only to perform those “adjudications performed by the INS immediately

  before those authorities were transferred from DOJ to DHS”); 8 U.S.C. § 1103(g)(1) (requiring that

  DOJ continue to “have such authorities and functions under this chapter and all other laws relating

  to the immigration and naturalization of aliens as were exercised by the Executive Office for Immi-

  gration Review, or by the Attorney General with respect to the [EOIR], on the day before the effective

  date”); Kaufman v. Mukasey, 524 F.3d 1334, 1338 (D.C. Cir. 2008) (The “Homeland Security Act ex-

  pressly provides that the Attorney General has authority over certain immigration functions specifi-

  cally relating to immigration courts”); see also Complaint ¶¶8, 114-118.

          Because the INA requires that “further consideration” of asylum requests must take place

  under Section 1229a, and because asylum more generally is governed by Section 1158, any rule imple-

  menting new procedures for asylum requests is implementing Sections 1158 and 1229a and not Section

  1225(b). The federal government’s mention of Section 1225(b) in the Asylum IFR is not a magic

  incantation allowing it to foreclose judicial review of its actions in 88 of the 89 federal district courts

  of this country.




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          A transfer to the D.D.C. pursuant to 28 U.S.C. § 1631 is only appropriate if this Court finds

  “there is want of jurisdiction.” Defendants argue that jurisdiction is lacking because the Asylum IFR

  is implementing Section 1225. Plaintiffs’ Complaint, however, plausibly alleges that the Asylum IFR

  is not an implementation of Section 1225(b). Thus, the only way for this Court to determine that

  jurisdiction is lacking is by making a decision on the merits: simply put, if Plaintiffs are right on the

  merits, then the Asylum IFR is not implementing Section 1225(b). This Court therefore would have

  jurisdiction and transfer would be inappropriate.

          Because the question of jurisdiction is inextricably intertwined with the merits issues of this

  case, transfer of the case is inappropriate. “[W]here the issue of jurisdiction is dependent upon a de-

  cision on the merits the trial court should determine jurisdiction by proceeding to a decision on the

  merits.” McBeath v. Inter-Am. Citizens for Decency Comm., 374 F.2d 359, 363 (5th Cir. 1967) (cleaned up)

  (citations and quotation marks omitted); see also Spector v. L Q Motor Inns, Inc., 517 F.2d 278, 284 (5th

  Cir. 1975) (where “decision on the jurisdictional issues is dependent on decision of the merits,” the

  district court should reserve decision on the jurisdictional issues “until a hearing on the merits”).

          B.      Other Courts’ Interpretation

          Courts outside this Circuit have already rejected the same argument the government makes

  here and have held that Section 1252 does not require transfer or bar jurisdiction. In East Bay Sanctuary

  Covenant v. Biden, legal services organizations that helped asylum-seeking aliens sued the Trump Ad-

  ministration in the Northern District of California, challenging a rule that would strip asylum eligibility

  from aliens crossing the border other than at ports of entry. 993 F.3d 640 (9th Cir. 2021). Just as here,

  the federal government claimed that Section 1252(e)(3) deprived the district court and the Ninth Cir-

  cuit of jurisdiction. The Ninth Circuit squarely rejected that argument, holding that “the jurisdiction-

  stripping provisions cited by the government were not intended to apply at all to challenges to asylum

  eligibility rules.” Id. at 667. This was because Section 1252(e)(3) only “govern[s] judicial review of



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  removal orders or challenges inextricably linked with actions taken to remove migrants from the coun-

  try.” Id. at 666. And because “the law governing asylum is collateral to the process of removal,” Section 1252(e)(3)

  did not apply. Id. at 667 (emphasis added). Even though rules about asylum “may eventually be rele-

  vant to removal proceedings, ... they are not regulations to implement removal orders” that would trigger ap-

  plicability of Section 1252(e)(3). Id. at 666-667 (cleaned up) (citations omitted) (emphasis added). That

  same logic is equally true here.

          The Ninth Circuit further explained that this construction was “consistent with the purposes

  of these jurisdictional limitations: allowing collateral APA challenges to an asylum-eligibility rule does

  not undermine Congress’s desire to limit all aliens to one bite of the apple with regard to challenging

  their removal orders. Id. at 667 (cleaned up) (citation omitted). Section 1252(e)(3) does not prohibit

  “claims that are independent of or collateral to the removal process” because they “are not actions

  taken to remove an alien from the United States.” Id. (cleaned up) (citation omitted).

          Similarly, the Southern District of California explained that §1252(e)(3) applies “only to actions

  calling into question the legality of the expedited removal process itself.” Al Otro Lado, Inc. v.

  McAleenan, 423 F. Supp. 3d 848, 867 (S.D. Cal. 2019), order clarified 497 F. Supp. 3d 914 (2020).

          C.       Canon of Construction: Ejusdem Generis

          “[U]under the statutory canon ejusdem generis, ‘when a statute sets out a series of specific items

  ending with a general term, that general term is confined to covering subjects comparable to the spe-

  cifics it follows.’ Murphy v. Verizon Commc’ns, Inc., 587 F. App'x 140, 144 (5th Cir. 2014) (quoting Hall

  St. Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576, 586 (2008)). Nearly all of the specific items listed in

  Section 1252 refer to removal, removal orders, or removal proceedings. See supra at 3-4, 6. The best

  reading of Section 1252(a)(2)(A) and (e)(3) is therefore that they are referring to challenges by alien to

  their removal. Indeed, the Fifth Circuit specifically applied ejusdem generis in its holding that Section

  1252 “operates only on denials of relief for individual aliens.” Texas v. Biden, 20 F.4th at 977 n.11.



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          D.      Legislative History

          Congress adopted the current version of Section 1252 as part of the Illegal Immigration Re-

  form and Immigrant Responsibility Act of 1996 (“IIRIRA”). Coyt v. Holder, 593 F.3d 902, 906 (9th Cir.

  2010). “Congress amended the INA aggressively to expedite removal of aliens lacking a legal basis to

  remain in the United States.” Kucana v. Holder, 558 U.S. 233, 249 (2010). Congress’s purpose in adopt-

  ing IIRIRA was “to expedite the physical removal of those aliens not entitled to admission to the

  United States” and “[t]o that end, IIRIRA ‘inverted’ certain provisions of the INA, encouraging

  prompt voluntary departure.” Coyt, 593 F.3d at 906. The House Conference Report on IIRIRA simi-

  larly made plain that the bill’s purpose was “to improve deterrence of illegal immigration to the United

  States by ... reforming exclusion and deportation law and procedures.” H.R. Rep. No. 104-828, at 1

  and 199 (1996) (Conf. Rep.). President Clinton’s signing statement likewise described IIRIRA as “land-

  mark immigration reform legislation that ... strengthens the rule of law by cracking down on illegal

  immigration at the border, in the workplace, and in the criminal justice system.” 32 Weekly Comp.

  Pres. Doc. 1935, 1996 U.S.C.C.A.N. 3388, 3391 (Sep. 30, 1996).

          Section 1252 was adopted to make it harder for unauthorized aliens to challenge their removal

  and to encourage their swift departure. There is no indication that the intent of Section 1252 was to

  insulate from judicial review executive action to sabotage immigration enforcement, facilitate illegal

  immigration, and make it easier for aliens to remain in the United States. It would be a complete

  inversion of congressional intent to read Section 1252 as making it more difficult for the States to

  challenge such executive action programmatically.

                                            CONCLUSION

          For the foregoing reasons, Defendants’ Motion to Transfer should be denied.




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  Dated: May 6, 2022                         Respectfully submitted,

                                                 By:/s/ Elizabeth B. Murrill

   MARK BRNOVICH                             ELIZABETH B. MURRILL (La #20685)
     Attorney General                           Solicitor General
   Brunn (“Beau”) W. Roysden III *           J. SCOTT ST. JOHN (La #36682)
     Solicitor General                          Deputy Solicitor General
   Drew C. Ensign **                         LOUISIANA DEPARTMENT OF JUSTICE
     Deputy Solicitor General                1885 N. Third Street
   James K. Rogers *                         Baton Rouge, Louisiana 70804
     Senior Litigation Counsel               Tel: (225) 326-6766
   OFFICE OF THE ARIZONA ATTORNEY            murrille@ag.louisiana.gov
   GENERAL                                   stjohnj@ag.louisiana.gov
   2005 North Central Avenue
   Phoenix, AZ 85004                         Counsel for Plaintiff State of Louisiana
   beau.roysden@azag.gov
   drew.ensign@azag.gov                      ERIC S. SCHMITT
   james.rogers@azag.gov                       Attorney General
                                             D. JOHN SAUER *
   Counsel for Plaintiff State of Arizona      Solicitor General
                                             OFFICE OF THE MISSOURI
   Steve Marshall                            ATTORNEY GENERAL
     Alabama Attorney General                Supreme Court Building
   Edmund G. LaCour Jr.*                     P.O. Box 899
     Solicitor General                       Jefferson City, MO 65102
   Office of the Attorney General            Phone: (573) 751-3321
   State of Alabama                          John.Sauer@ago.mo.gov
   501 Washington Avenue
   P.O. Box 300152                           Counsel for Plaintiff State of Missouri
   Montgomery, Alabama 36130-0152
   Telephone: (334) 242-7300                 Treg R. Taylor
   Edmund.LaCour@AlabamaAG.gov                 Attorney General of Alaska
                                             CORI M. MILLS*
   Counsel for Plaintiff State of Alabama      Deputy Attorney General of Alaska
                                             Christopher A. Robison*
                                               Assistant Attorney General
                                             Alaska Department of Law
                                             1031 West 4th Avenue, Suite 200
                                             Anchorage, AK 99501-1994
                                             chris.robison@alaska.gov

                                             Counsel for Plaintiff State of Alaska




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   LESLIE RUTLEDGE                            ASHLEY MOODY
     Arkansas Attorney General                  Attorney General
   NICHOLAS J. BRONNI*                        JAMES H. PERCIVAL*
     Solicitor General                          Deputy Attorney General of Legal Policy
   DYLAN L. JACOBS*                           OFFICE OF THE FLORIDA
    Deputy Solicitor General                  ATTORNEY GENERAL
   OFFICE OF THE ARKANSAS                     The Capitol, Pl-01
   ATTORNEY GENERAL                           Tallahassee, Florida 32399-1050
   323 Center Street, Suite 200               Phone: (850) 414-3300
   Little Rock, Arkansas 72201                james.percival@myfloridalegal.com
   (501) 682-2007
   Nicholas.Bronni@arkansasag.gov             Counsel for Plaintiff State of Florida
   Dylan.Jacobs@arkansasag.gov
                                              Lawrence G. Wasden
   Counsel for Plaintiff State of Arkansas      Attorney General,
                                              Brian Kane*
   CHRISTOPHER M. CARR                          Chief Deputy Attorney General
     Attorney General of Georgia              Office of the Idaho Attorney General
   STEPHEN J. PETRANY*                        700 W. Jefferson Street, Ste. 210
     Solicitor General                        P.O. Box 83720
   OFFICE OF THE GEORGIA                      Boise, ID 83720
   ATTORNEY GENERAL                           Telephone: (208) 334-2400
   40 Capitol Square, SW                      Email: Brian.Kane@ag.idaho.gov
   Atlanta, Georgia 30334
   (404) 458-3408                             Counsel for Plaintiff State of Idaho
   spetrany@law.ga.gov
                                              Derek Schmidt
   Counsel for Plaintiff State of Georgia       Attorney General
                                              Dwight R. Carswell*
   THEODORE E. ROKITA                           Deputy Solicitor General
     Indiana Attorney General                 Office of the Kansas Attorney General
   Betsy M. DeNardi*                          120 SW 10th Ave., 3rd Floor
     Director of Complex Litigation           Topeka, KS 66612-1597
   Indiana Government Center South            dwight.carswell@ag.ks.gov
   302 W. Washington St., 5th Floor
   Indianapolis, IN 46204                     Counsel for Plaintiff State of Kansas
   Betsy.DeNardi@atg.in.gov

   Counsel for Plaintiff State of Indiana




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   DANIEL CAMERON                                    AUSTIN KNUDSEN
     Attorney General of Kentucky                      Attorney General
   Marc Manley*                                      DAVID M.S. DEWHIRST*
     Associate Attorney General                        Solicitor General
   Kentucky Office of the                            MONTANA DEPARTMENT OF JUSTICE
   Attorney General                                  215 N Sanders St
   700 Capital Avenue, Suite 118                     Helena, MT 59601
   Frankfort, Kentucky                               P. (406) 444-2026
   Tel: (502) 696-5478                               David.Dewhirst@mt.gov

   Counsel for Plaintiff Commonwealth of Kentucky    Counsel for Plaintiff State of Montana

   LYNN FITCH                                        JOHN M. O’CONNOR
     Attorney General of Mississippi                   Attorney General of Oklahoma
   JUSTIN L. MATHENY*                                BRYAN CLEVELAND*
     Deputy Solicitor General                          Deputy Solicitor General
   OFFICE OF THE MISSISSIPPI                         OKLAHOMA ATTORNEY GENERAL’S
   ATTORNEY GENERAL                                  OFFICE
   P.O. Box 220                                      313 NE 21st Street
   Jackson, MS 39205-0220                            Oklahoma City, OK 73105
   Tel: (601) 359-3680                               Phone: (405) 521-3921
   justin.matheny@ago.ms.gov
                                                     Counsel for Plaintiff State of Oklahoma
   Counsel for Plaintiff State of Mississippi
                                                     Sean D. Reyes
   DOUGLAS J. PETERSON                                 Utah Attorney General
     Attorney General                                Melissa Holyoak
   JAMES A. CAMPBELL*                                  Utah Solicitor General
     Solicitor General                               350 N. State Street, Suite 230
   OFFICE OF THE NEBRASKA ATTORNEY                   P.O. Box 142320
   GENERAL                                           Salt Lake City, UT 84114-2320
   2115 State Capitol                                (801) 538-9600
   Lincoln, Nebraska 68509                           melissaholyoak@agutah.gov
   Tel: (402) 471-2682
   jim.campbell@nebraska.gov                         Counsel for Plaintiff State of Utah

   Counsel for Plaintiff State of Nebraska           Patrick Morrisey
                                                       Attorney General
   ALAN WILSON                                       Lindsay See*
     South Carolina Attorney General                   Solicitor General
   Thomas T. Hydrick*                                Office of the West Virginia Attorney General
     Assistant Deputy Solicitor General              State Capitol, Bldg 1, Room E-26
   Post Office Box 11549                             Charleston, WV 25305
   Columbia, SC 29211                                (681) 313-4550
   (803) 734-4127                                    Lindsay.S.See@wvago.gov
   thomashydrick@scag.gov
                                                     Counsel for Plaintiff State of West Virginia
   Counsel for the State of South Carolina


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   BRIDGET HILL
     Attorney General of Wyoming
   RYAN SCHELHAAS*
     Chief Deputy Attorney General
   OFFICE OF THE WYOMING ATTORNEY
   GENERAL
   109 State Capitol
   Cheyenne, WY 82002
   Tel: (307) 777-5786
   ryan.schelhaas@wyo.gov

   Counsel for Plaintiff State of Wyoming




   * Pro hac vice application forthcoming
   ** Pro hac vice application granted




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